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1
                                                     Hon. _____________________
2
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5
6
7
8                   UNITED STATES DISTRICT COURT
9                  WESTERN DISTRICT OF WASHINGTON

10
11                                             )
12   UNITED STATES OF AMERICA,                 )
     STATE OF WASHINGTON THROUGH               )
13
     THE WASHINGTON DEPARTMENT                 )
14   OF ECOLOGY, SUQUAMISH TRIBE,              )
15
     AND TULALIP TRIBES,                       )
                                               )
16                            Plaintiffs,      )   Case No. 2:18-cv-00113
17                                             )
                     v.                        )   CIVIL COMPLAINT
18                                             )
19   JELD-WEN, INC., KIMBERLY CLARK            )
     CORP., and WEYERHAEUSER NR                )
20
     COMPANY,                                  )
21                                             )
22                            Defendants.      )
                                               )
23                                             )
24                                             )
25
26
27
     COMPLAINT                          -1-   UNITED STATES DEPARTMENT OF JUSTICE
28                                               Environment and Natural Resources Division
                                                      P.O. Box 7611, Washington, DC 20044
                                                                             202-514-5270
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1          Plaintiffs United States of America, by authority of the Attorney General, on
2    behalf of the National Oceanic and Atmospheric Administration of the Department
3    of Commerce (“NOAA”) and the Department of the Interior (“DOI”); the State of
4    Washington through the Washington Department of Ecology; the Tulalip Tribes;
5    and the Suquamish Tribe, allege as follows:
6                             I. GENERAL ALLEGATIONS
7          1.     This is a civil action under Section 311 of the Clean Water Act
8    (CWA), 33 U.S.C. § 1321; Section 1002(b) of the Oil Pollution Act (OPA), 33
9    U.S.C. § 2702(b); and the Model Toxics Control Act (MTCA), RCW 70.105D, for
10   damages for injury to, destruction of, or loss of natural resources resulting from the
11   release of hazardous substances and discharges of oil by Defendants into the Port
12   Gardner Bay Area in Everett, Washington.
13                           II. JURISDICTION AND VENUE
14         2.     This Court has jurisdiction over this case pursuant to Section 311(n)
15   of the CWA, 33 U.S.C. § 1321(n); Section 1017(b) of OPA, 33 U.S.C. § 2717(b);
16   and 28 U.S.C. §§ 1331, 1345 and 1367(a).
17         3.     Venue is proper in this district pursuant to Section 1017(b) of OPA,
18   33 U.S.C. § 2717(b); and 28 U.S.C. § 1391(b) and (c).
19                                 III. BACKGROUND
20         4.     For purposes of this complaint, the Port Gardner Bay Area is defined
21   as including the lower Snohomish River, Everett Waterfront, East Waterway, and a
22   portion of Possession Sound in and near Everett, Washington, as depicted in the
23   map attached as Appendix A.
24         5.     There have been discharges of hazardous substances and oil within the
25   Port Gardner Bay Area over several decades at or from facilities located adjacent
26   to Port Gardner Bay, owned and/or operated by the Defendants.
27
28   COMPLAINT                                -2-   UNITED STATES DEPARTMENT OF JUSTICE
                                                       Environment and Natural Resources Division
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1          6.     The Port Gardner Bay Area is contaminated with oil and a variety of
2    hazardous substances, including polychlorinated biphenyls (“PCBs”),
3    organochlorine pesticides and related products, polycyclic aromatic hydrocarbons
4    (“PAHs”), metals (including lead, mercury, copper, chromium, and arsenic),
5    volatile and semi-volatile organic compounds, perchlorate, herbicides, organic
6    solvents, antifouling agents such as tributyltin and other butyltins, sulfide and
7    ammonia.
8          7.     The lower Snohomish River, East Waterway, and a portion of
9    Possession Sound comprising the Port Gardner Bay Area are “navigable waters”
10   within the meaning of Section 1001(21) of OPA, 33 U.S.C. § 2701(21), and
11   Sections 311 and 502(7) of the CWA, 33 U.S.C. §§ 1321 and 1362(7).
12                                    IV. PLAINTIFFS
13         8.     Pursuant to Section 1006 of OPA, 33 U.S.C. § 2706, Section 311(f)(5)
14   of the CWA, 33 U.S.C. § 1321(f)(5), and 40 C.F.R. § 300.600, the United States is
15   trustee for certain natural resources in the Port Gardner Bay Area.
16         9.     Pursuant to Section 1006 of OPA, 33 U.S.C. § 2706, Section 311(f)(5)
17   of the CWA, 33 U.S.C. § 1321(f)(5), 40 C.F.R. § 300.605, RCW 43.21A, RCW
18   70.105D, and RCW 90.48, the State of Washington is trustee for certain natural
19   resources in the Port Gardner Bay Area.
20         10.    Pursuant to Section 1006 of OPA, 33 U.S.C. § 2706, and 40 C.F.R. §
21   300.610, the Suquamish Tribe is trustee for certain natural resources in the Port
22   Gardner Bay Area.
23          11.   Pursuant to Section 1006 of OPA, 33 U.S.C. § 2706, and 40 C.F.R. §
24   300.610, the Tulalip Tribes is trustee for certain natural resources in the Port
25   Gardner Bay Area.
26
27
28    COMPLAINT                               -3-    UNITED STATES DEPARTMENT OF JUSTICE
                                                        Environment and Natural Resources Division
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1                                        V. DEFENDANTS
2            12.   Each of the Defendants is a current owner or operator of, or formerly
3    owned and operated, properties, identified in the list attached as Appendix B to this
4    complaint, from which there have been discharges of hazardous substances and oil
5    to the Port Gardner Bay Area.
6            13.   At all times relevant to this complaint, each of the Defendants did
7    business in this district.
8            14.   Defendant Jeld-Wen, Inc., a Delaware corporation, is a former owner
9    and operator of properties within the Port Gardner Bay Area, including property
10   located at 300 W. Marine View Drive, Everett, Washington, from about 1986 to
11   the end of 2013, which have been used for purposes including a wood door plant,
12   sawmilling, casket manufacturing, machine shop processes, storage of above and
13   below ground petroleum storage tanks, and a wood pole treating yard. There have
14   been discharges of oil and PAHs, PCBs, furans, dioxins, and volatile and semi-
15   volatile organic compounds from the properties owned and operated by Jeld-Wen,
16   Inc.
17           15.   Defendant Kimberly Clark Corp., a Delaware corporation, is the
18   current owner and operator of properties within the Port Gardner Bay Area,
19   including property located at 2600 Federal Ave, Everett, Washington, that have
20   been used since the early 1900s for various purposes including sawmilling, a pulp
21   and paper mill, and bulk petroleum storage operations. Kimberly Clark Corp.
22   merged with Scott Paper Company, the successor to companies which conducted
23   these operations, in 1995. Kimberly Clark Corp. operated the pulp and paper mill
24   until 2012. There have been discharges of oil and metals, PAHs, PCBs, and
25   volatile and semi-volatile organic compounds from the properties owned and
26   operated by Kimberly Clark Corp.
27
28    COMPLAINT                               -4-    UNITED STATES DEPARTMENT OF JUSTICE
                                                        Environment and Natural Resources Division
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1          16.    Defendant Weyerhaeuser NR Company, a Washington corporation, is
2    a former owner and operator of properties within the Port Gardner Bay Area, from
3    the early 1900s to 1983, including the former Weyerhaeuser Mill A property,
4    located at 3500 Terminal Ave, Everett, Washington, which was used primarily for
5    purposes of a sawmill and pulp mill operations. There have been discharges of oil
6    and metals, PAHs, PCBs, phenols, and volatile and semi-volatile organic
7    compounds from the properties owned and operated by Weyerhaeuser NR
8    Company.
9          17.    Investigations have detected oil and hazardous substances in soils,
10   groundwater or sediments on or in some or all of the properties owned or operated,
11   or formerly owned or operated, by each of the Defendants, identified in paragraphs
12   14-16 above.
13                            VI. FIRST CLAIM FOR RELIEF
14         18.    Plaintiffs reallege paragraphs 1 through 17.
15         19.    Section 1002(a) of OPA, 33 U.S.C. § 2702(a), provides in pertinent
16   part, as follows:
17                Notwithstanding any other provision or rule of law, and
18                subject to the provisions of this Act, each responsible
19                party for a vessel or a facility from which oil is
20                discharged, or which poses the substantial threat of a
21                discharge of oil, into or upon the navigable waters or
22                adjoining shorelines or the exclusive economic zone is
23                liable for the removal costs and damages specified in
24                subsection (b) of this section that result from such
25                incident.
26
27
28    COMPLAINT                               -5-    UNITED STATES DEPARTMENT OF JUSTICE
                                                        Environment and Natural Resources Division
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1            20.   Section 1002(b)(2)(A) of OPA, 33 U.S.C. § 2702(b)(2)(A), makes
2    responsible parties liable for:
3                  Damages for injury to, destruction of, loss of, or loss of
4                  use of, natural resources, including the reasonable costs
5                  of assessing the damage, which shall be recoverable by a
6                  United States trustee, a State trustee, an Indian Tribe
7                  trustee, or a foreign trustee.
8
9            21.   The properties owned or operated, or formerly owned or operated, by
10   the Defendants identified in paragraphs 14-16 were and are facilities within the
11   meaning of Sections 1001(9) and 1002 of OPA, 33 U.S.C. §§ 2701(9) and 2702.
12           22.   Section 1001(32) of OPA, 33 U.S.C. § 2701(32), makes owners and
13   operators of onshore facilities responsible parties for damages resulting from the
14   discharge of oil from those facilities.
15           23.   The discharge of oil from the identified facilities owned or operated,
16   or formerly owned or operated, by each of the Defendants into or upon the
17   navigable waters comprising the Port Gardner Bay Area and their adjoining
18   shorelines has resulted in injury to, destruction of, or loss of natural resources
19   within the trusteeship of one or more of the Plaintiffs.
20           24.   Defendants are each liable to Plaintiffs for natural resource damages
21   resulting from discharges of oil pursuant to Section 1001 of OPA, 33 U.S.C. §
22   2701.
23                          VII. SECOND CLAIM FOR RELIEF
24           25.   Plaintiffs reallege paragraphs 1 through 24.
25           26.   Section 311(b)(3) of the CWA, 33 U.S.C. § 1321(b)(3), provides in
26   pertinent part, as follows:
27
28    COMPLAINT                                 -6-   UNITED STATES DEPARTMENT OF JUSTICE
                                                         Environment and Natural Resources Division
                                                              P.O. Box 7611, Washington, DC 20044
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1                 The discharge of oil or hazardous substances (i) into or
2                 upon the navigable waters of the United States, adjoining
3                 shorelines, or into or upon the waters of the contiguous
4                 zone . . . or which may affect natural resources belonging
5                 to, appertaining to, or under the exclusive management
6                 authority of the United States . . . in such quantities as
7                 may be harmful as determined by the President under
8                 paragraph (4) of this subsection, is prohibited . . . .
9
10         27.    Section 311(f)(2) of the CWA, 33 U.S.C. § 1321(f)(2), provides in
11   pertinent part, as follows:
12
13                Except where an owner or operator of an onshore facility
14                can prove that a discharge was caused solely by (A) an
15                act of God, (B) an act of war, (C) negligence on the part
16                of the United State Government, or (D) an act or
17                omission of a third party without regard to whether an
18                such act or omission was or was not negligent, or any
19                combination of the foregoing clauses, such owner or
20                operator of any such facility from which oil or a
21                hazardous substance is discharged in violation of
22                subsection (b)(3) of this section shall be liable to the
23                United States Government for the actual costs incurred
24                under subsection (c) of this section for the removal of
25                such oil or substance by the United States Government
26                ....
27
28    COMPLAINT                                -7-    UNITED STATES DEPARTMENT OF JUSTICE
                                                         Environment and Natural Resources Division
                                                              P.O. Box 7611, Washington, DC 20044
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1          28.    Section 311(f)(4) of the CWA, 33 U.S.C. § 1321(f)(4), provides in
2    pertinent part, as follows:
3                 The costs of removal of oil or a hazardous substance for
4                 which the owner or operator of a vessel or onshore or
5                 offshore facility is liable under subsection (f) of this
6                 section shall include any costs or expenses incurred by
7                 the Federal Government or any State government in the
8                 restoration or replacement of natural resources damaged
9                 or destroyed as a result of a discharge of oil or a
10                hazardous substance in violation of subsection (b) of this
11                section.
12         29.    The properties identified in paragraphs 14-16 owned or operated, or
13   formerly owned or operated, by the Defendants are onshore facilities within the
14   meaning of Section 311(f)(2) of the CWA, 33 U.S.C. § 1321(f)(2).
15         30.    There have been discharges of hazardous substances in harmful
16   quantities into or upon the navigable waters comprising the Port Gardner Bay Area
17   and their adjoining shorelines from the identified facilities owned or operated, or
18   formerly owned or operated, by the Defendants.
19         31.    Discharges of hazardous substances from the facilities owned or
20   operated, or formerly owned or operated, by the Defendants have damaged or
21   destroyed natural resources belonging to, appertaining to, or under the exclusive
22   management authority of the United States.
23         32.    Defendants are each liable to the United States and the State of
24   Washington for natural resource damages resulting from discharges of hazardous
25   substances into the Port Gardner Bay Area pursuant to Section 311(f) of the CWA,
26   33 U.S.C. § 1321(f).
27
28    COMPLAINT                                -8-    UNITED STATES DEPARTMENT OF JUSTICE
                                                         Environment and Natural Resources Division
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1                         VIII. THIRD CLAIM FOR RELIEF
2        33.     Plaintiffs reallege paragraphs 1 through 32.
3        34.     MTCA, RCW 70.105D.040, provides in pertinent part as follows:
4                (1) Except as provided in subsection (3) of this section,
5                the following persons are liable with respect to a facility:
6
7                (a) The owner or operator of the facility;
8
9                (b) Any person who owned or operated the facility at the
10               time of disposal or release of the hazardous substances;
11
12               (c) Any person who owned or possessed a hazardous
13               substance and who by contract, agreement, or otherwise
14               arranged for disposal or treatment of the hazardous
15               substance at the facility, or arranged with a transporter
16               for transport for disposal or treatment of the hazardous
17               substances at the facility, or otherwise generated
18               hazardous wastes disposed of or treated at the facility;
19
20               (d) Any person (i) who accepts or accepted any
21               hazardous substance for transport to a disposal, treatment
22               or other facility selected by such person, from which
23               there is a release or a threatened release for which
24               remedial action is required, unless such facility, at the
25               time of disposal or treatment, could legally receive such
26               substance; or (ii) who accepts a hazardous substance for
27               transport to such a facility and has reasonable grounds to
28   COMPLAINT                               -9-    UNITED STATES DEPARTMENT OF JUSTICE
                                                       Environment and Natural Resources Division
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1                believe that such facility is not operated in accordance
2                with RCW 70.105; and
3
4                (e) Any person who both sells a hazardous substance and
5                is responsible for written instructions for its use if (i) the
6                substance is used according to the instructions and (ii) the
7                use constitutes a release for which remedial action is
8                required at the facility.
9
10               (2) Each person who is liable under this section is strictly
11               liable, jointly and severally, for . . . all natural resource
12               damages resulting from the releases or threatened
13               releases of hazardous substances.
14
15         35.   Materials disposed of and released in the Port Gardner Bay Area from

16   the properties identified in paragraphs 14-16 owned or operated, or formerly
17   owned or operated, by the Defendants include hazardous substances within the
18   meaning of RCW 70.105D.020(13).
19         36.   The identified properties owned or operated, or formerly owned or
20   operated, by the Defendants are facilities within the meaning of RCW
21   70.105D.020(8).
22         37.   The Port Gardner Bay Area is a facility within the meaning of RCW
23   70.105D.020(8).
24
           38.   Releases or threatened releases of hazardous substances have occurred
25
     in the Port Gardner Bay Area within the meaning of RCW 70.105D.020 and
26
     70.105D.040.
27
28   COMPLAINT                                - 10 -   UNITED STATES DEPARTMENT OF JUSTICE
                                                          Environment and Natural Resources Division
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1          39.     The natural resources that have been and continue to be injured,

2    destroyed, or lost by the release of hazardous substances from the identified
3    facilities owned or operated, or formerly owned or operated, by the Defendants
4    include fish, shellfish, invertebrates, birds, marine sediments, and other such
5    natural resources.
6          40.     The State of Washington has incurred and continues to incur response
7    costs related to the assessment of injury to natural resources caused by the releases
8    of hazardous substances from the identified facilities owned or operated, or
9    formerly owned or operated, by the Defendants.
10
           41.     Pursuant to RCW 70.105D.040(2), Defendants are jointly and
11
     severally liable to the State of Washington for all damages to natural resources in
12
     the Port Gardner Bay Area, resulting from the release of hazardous substances at or
13
     from the Defendants’ identified facilities.
14
                               IX. REQUEST FOR RELIEF
15
           WHEREFORE, Plaintiffs request that this Court enter judgment against
16
     Defendants:
17
18         (1)     For damages for injury to natural resources resulting from the

19   discharges of oil or releases of hazardous substances in the Port Gardner Bay Area,
20   including the cost of assessing such damages; and
21         (2)     Awarding Plaintiffs such other and further relief as this Court may
22   deem appropriate.
23   Dated: January 25, 2018
24                                    UNITED STATES OF AMERICA
25
                                      JEFFREY H. WOOD
26                                    Acting Assistant Attorney General
27                                    Environment & Natural Resources Division
28    COMPLAINT                              - 11 -   UNITED STATES DEPARTMENT OF JUSTICE
                                                         Environment and Natural Resources Division
                                                              P.O. Box 7611, Washington, DC 20044
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                                United States Attorney
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7                               Trial Attorney
8                               Environmental Enforcement Section
                                Environment and Natural Resources Division
9                               United States Department of Justice
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                                ROBERT FERGUSON
16
                                Attorney General
17
18                                    ~~
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20                              Assistant Attorney General
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22                              Olympia, WA 98504 0117
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28   COMPLAINT                        - 12 -   UNITED STATES DEPARTMENT OF NSTICE
                                                  Environment and Natural Resources Division
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                                                                              202-514-5270
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                          s/ Melody Allen
                        APPENDIX
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      Assessment Area
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                                       APPENDIX B
   Tax Parcels owned and/or operated by Settling Defendants within the Port
                Gardner Bay Area (Listed by Tax Parcel Number)


Jeld-Wen, Inc.

    29050700100400 (300 W. Marine View Drive, Everett WA 98201-1030)

    29050700101200



Kimberly Clark Corp.

     29051900300100
     29051900300200
     29051900201500
     29051900201300
     29051900201100
     29051900201000
     29051900200900
     00597761803901
     00597761803000
     00597761801000
     00597761800600
     00437461700200
     29051900201900

     00516048600000
     00516055600000
     00437455601300
     00437455701302
     00437455701301
     00437455701600
     00437455800500

     29052100201000
     00480100200800
     00563245900000
     29052100200900
     29052100300800
     00480100100100
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    29050700100100
    29050800200800
    29050800200900
    29050700100700
    00439700000100

    29050600100100
    29051800201500


Weyerhaeuser NR Company

    29053000201800 (3500 Terminal Ave, Everett, WA 98201)

    29053000203400
